          Case 3:17-sw-00261-REP Document 1 Filed 12/08/17 Page 1 of 13 PageID# 1
AO 106 (Rev. 06/09) Application for a Search Warrant
                                                                                                                         s
                                      United States District Court
                                                                     for the
                                                                                                                         OEC - 8 2017
                                                         Eastern District of Virginia

              In the Matter of the Search of
         (Briefly describe the property to be searched
          or identify the person by name and address)

                      2308 Johnson Place
                                                                                 caseNo.5:1-73,^2/^1
                     Richmond, VA 23223


                                            APPLICATION FOR A SEARCH WARRANT

        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of pequry that I have reason to believe that on the following person or property (identify theperson ordescribe the
property to be searched and give its location): ,
  See Bifacnment A, incorporaiea by reference herein


located in the              Eastern               District of             Virginia               , there is now concealed (identify the
person or describe the property to be seized)'.
 See attachment B, incorporated by reference herein


          The basis for the search under Fed. R. Grim. P. 41(c) is (check oneor more):
                 isTevidence ofacrime;
                 sTcontraband, fhiits ofcrime, or other items illegally possessed;
                 SZfproperty designed for use, intended for use, or used in committing acrime;
                 • a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:

               Code Section                                                          Offense Description
        Title 21 United States Code                Distribution of Heroin, a Schedule I controlled substance
        841(a)(1)


          The application is based on these facts:
        See attached affidavit, incorporated by reference herein


           M Continued on the attached sheet.
           •    Delayednotice of                  days (give exact ending date if more than 30 days:                      ) is requested
                under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                     cants si


                                                                                        TIffani L. Corley, PEA Special Agent
                                                                                                Printed name and title


Sworn to before me and signed in my presence.


Date:
                                                                                                  Judge's signmure

City and State: Richmond, Virginia
                                                                                                Printed name and title
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                                     AFFIDAVIT IN SUPPORT OF


                         AN APPLICATION FOR A SEARCH WARRANT




       I, Tiffani L. Corley, being first duly sworn, hereby depose and state as follows:

                                            INTRODUCTION


        1.     I am an investigative or law enforcement officer within the meaning of Title 18,

United States Code, Section 2510(7), that is an officer of the United States who is empowered by

law to conduct investigations of, and to make arrests for, offenses enumerated in Title 18, United

States Code, Section 2516.

       2.      I am presently employed as a Special Agent ("SA") for the United States Drug

Enforcement Administration ("DEA''). I have been employed full-time by the DEA since March

2005, currently assigned to the Richmond District Office ("RDO"), and have been so employed

for over 12 years.

       3.      Prior to becoming an agent, I completed the DEA Basic Agent Training course in

Quantico, Virginia, a seventeen-week intensive drug law enforcement training program. DEA

training focuses on, among other things: confidential informant (CI) management, interviews of

suspects and defendants, report writing, physical and electronic surveillance, tactics, the

preparation of wiretap affidavits and search warrants, and drug identification. After graduation, I

successfully completed a sixteen-week field training program at my first office of assignment.

During my time as a Special Agent, I have participated in investigations involving the unlawful

importation, exportation, manufacture, possession with intent to distribute and distribution of

narcotics, the laundering of narcotics proceeds, monetary instruments derived from narcotics

activities, and conspiracies associated with narcotics offenses. I have participated in numerous
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narcotics investigations with more experienced SAs and Task Force Officers ("TFOs") within

DEA.

        4.        Through my training, experience, and interaction with other SAs, TFOs, and other

narcotics investigators, I have become familiar with the methods employed by narcotics

trafficking organizations to smuggle, safeguard, and distribute narcotics, and to collect and

launder narcotics related proceeds. These methods include (but not limited to) the use of debit

calling cards, public Wi-Fi hotspots, wireless communications technology (such as smartphone

apps, voice over ip phones, and cellular telephones), counter surveillance, elaborately planned

smuggling schemes tied to legitimate businesses, false or fictitious identities and coded

communications in an attempt to avoid detection by law enforcement and circumvent narcotics

investigations.

       5.         I have been involved in the preparation and service of California state and federal

search warrants at numerous locations throughout the United States of America. At many of the

locations I have seized controlled substances including (but not limited to) cocaine,

methamphetamine, MDMA, heroin, and marijuana. I have also seized many non-drug items,

which include vehicles used to facilitate drug trafficking, narcotics proceeds, drug pay and owe

sheets, telephone directories and toll records. I have interviewed many of the suspects at these

locations, and I have learned of the methods and operations of the drug trafficking organizations.

       6.         In December 2010, I received eight hours of California state wiretap training,

analyzing phone tolls, writing and serving subpoenas, writing both state and federal affidavits,

analyzing line sheets for pertinent criminal information, and minimization. I have also

participated in several California state and federal wiretaps in the capacity of presenting evidence

to magistrates for sealing, monitoring phone lines, and writing 15-day reports.
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        7.      In addition, I am familiar with narcotic traffickers' methods of operation

including the distribution, storage, and transportation of narcotics, the collection of money that

represents the proceeds of narcotics trafficking, and money laundering. I am aware narcotics

traffickers often communicate with their drug trafficking associates through the use of many

communications devices such as home telephones, cell phones, and social media applications. I

am aware drug traffickers will often change cellular telephones and account screen names to

avoid detection by law enforcement. It has been my experience that narcotics traffickers will

also use residential telephones, cellular telephones, and social media web sites that are not

subscribed to their own names or addresses, as well as change these accounts frequently. They

do this in order to avoid detection by law enforcement.

        8.      It has been my experience that narcotics traffickers will also use registered

vehicles, utilities, cellular telephones, and social media web sites that are not subscribed to their

own names or addresses. They do this in order to avoid detection by law enforcement. It has

also been my experience that narcotics traffickers keep and store drug packaging and

paraphernalia, records, documents, cash, photographs, and firearms in their personal residences

to further their drug trafficking activities.

        9.      I have interviewed numerous criminals regarding the transportation and sales of

narcotics. During many of these investigations, the criminals have admitted to their utilization of

telephones, social media web sites, the utilization of stash locations, and methods of distribution.

I know from my training and experience in the field of narcotics that subjects involved in the

crimes ofpossession with intent to distribute controlled substances will often utilize telephones

and social web pages to arrange their crimes or coordinate with co-conspirators and customers.

        10.     The facts in this affidavit come from my personal observations, my training and
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experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about this matter.

          11.   Based on my training and experience and the facts as set forth in this affidavit,

there is probable cause to believe that violations of21 U.S.C. § 841(a)(l) have been committed

by Terrell HARGROVE (HARGROVE). There is also probable cause to search the location

described in Attachment A for evidence of these crimes, as described in Attachment B.

                   DESCRIPTION OF RESIDENCES TO BE SEARCHED

         12.    This affidavit is made in support of a search warrant for the residence (s) located

at:

                2308 Johnson Place
                Richmond, VA 23223


         13.    'I present this affidavit in support of a SEARCH WARRANT for 2308 Johnson

Place, Richmond, VA 23223 (TARGET RESIDENCE), to include the entire dwelling and any

detached sheds, garages or storage structures within the curtilage. The structure is described as a

single home dwelling with tan siding. This building is a single-storied property with a grass yard

surrounding it and a gravel driveway leading to the north side of the residence. The number

"2308" is clearly affixed to the outside front of the front pouch. This dwelling is located in the

Eastern District of Virginia.

                                      PROBABLE CAUSE

         14.    The information contained within this affidavit is based on my personal

experience, as well as on information provided to me by other federal agents, local police

officers, and confidential sources. Based on this information, there exists probable cause to
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believe that HARGROVE utilizes the aforementioned residence as a part of a distribution

network for heroin, wherein he distributes illegal narcotics and stores proceeds from the

distribution of illegal narcotics, packaging materials, drug paraphernalia, records, and documents

that may constitute evidence of criminal activities.

       15.     This investigation started in September 2017, when Richmond Police Department

(RPD) initiated a drug investigation into the heroin trafficker identified as Terrell HARGROVE.

HARGROVE is a known drug trafficker in the Richmond metropolitan area. Date of Birth:

X/XX/1984. RPD developed a Confidential Source (CS) who was able to purchase ounce

quantities of heroin from HARGROVE. The CS, at the direction of RPD, made controlled

purchases of heroin from HARGROVE.

       16.     In September 2017, TFO Philips searched criminal records for HARGROVE and

discovered that HARGROVE was on federal supervised release and contacted HARGROVE'S

Federal Probation Officer. The officer informed TFO Philips that HARGROVE was in fact on

supervised release and listed the TARGET RESIDENCE as his place of residence. The

Probation Officer also confirmed that he has conducted residence checks at the TARGET

RESIDENCE.


                                   Summary of Controlled Purchases


       17.     On September 29, 2017, at approximately 2:00pm, the CS was searched for

weapons or drugs by RPD Officer Adams and nothing was found. The CS stated that he/she had

spoken to HARGROVE on his cell phone (804-779-9809) and HARGROVE would have Vi

ounce of heroin ready for pick-up on that day.

       18.     At approximately 2:45pm, SA Scanlon observed a white SUV bearing Virginia

license plate, WSR-4151, parked in front of the Auto Zone located at 2607 Chamberlayne Ave,
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Richmond, VA. At approximately 2:50pm, SA Corley observed the CS, driven by TFO Philips,

arrive in the area of 2607 Chamberlayne Ave, Richmond, VA. TFO Philips positively identified

HARGROVE while he exited his vehicle wearing a teal baseball cap and blue jeans. SA Burch

observed the CS and HARGROVE greet each other outside of the business and enter the front

door together. At approximately 2:58pm, the CS returned to the UC vehicle and immediately

departed the area. The CS gave SA Corley the heroin that was purchased from HARGROVE as

soon as the UC vehicle had returned to the police department. Later that day the CS spoke with

SA Corley and TFO Philips regarding the transaction. The CS stated that he/she did not talk to

HARGROVE very long because they were in a public place. The CS said that HARGROVE

handed him/her the heroin inside the store then departed the store shortly after. Laboratory

reports have confirmed the substance was heroin.

       19.     At approximately 3:02pm, SA Scanlon observed HARGROVE depart the area

driving the white SUV. TFO Wallace observed HARGROVE enter the neighborhood of the

TARGET RESIDENCE. SA Burch confirmed at approximately 3:30 pm, that HARGROVE'S

vehicle was parked in front of the TARGET RESIDENCE, as well as a blue 1994 Cadillac

bearing Virginia license plate WNB-2821 (Registered owner was Chiquitta Shantel REID). At

approximately 3:30pm surveillance was terminated.

       20.     On November 2,2017, at approximately 2:10pm, SA Corley and Officer Poerstel

met with the CS to discuss the transaction planned for later that day. The CS stated that he/she

had spoken with HARGROVE earlier in the day and he was ready to supply one ounce of heroin

to the CS for $2,000. The CS stated that HARGROVE was using a new telephone number, 804-

712-1343.


       21.     At approximately 2:52pm, the CS made a call in the presence of SA Corley and
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Officer Poerstel, asking HARGROVE where they should meet. The parties agreed to meet at the

2600 block of Chamberlayne Ave, Richmond, VA. The CS was searched for weapons and drugs

prior to the meeting by Officer Poerstel and none were found. The CS was the driven to the pre

arranged meeting location and given a video/audio recording device and $2,000 OAF.

       22.     At approximately 3:48pm, SA Corley observed HARGROVE arrive in the

parking lot of the 2600 block of Chamberlyane Ave, Richmond, VA. HARGROVE was driving

a rental vehicle (white Impala bearing Pennsylvania license plate KMS-0651). As soon as the

vehicle arrived in the parking lot the CS got into HARGROVE'Svehicle. HARGROVE told the

CS that he did not have the heroin at that time, and the CS would have to wait until he could get

it. The CS told HARGROVE to call him/her when he had it.


       23.     At approximately 4:13pm, SA Greenway observed HARGROVE arrive at the

TARGET RESIDENCE. HARGROVE got out of his vehicle, checked the mail, and then

walked into the residence. Shortly thereafter surveillance was terminated.

       24.     On November 3, 2017, at approximately 10:00am, the CS was searched for any

weapons or drugs by Officer Poerstel and nothing was found. The CS was given a recording

device to record the transaction and $2,000 OAF. The CS placed a phone call in the presence of

SA Corley and Officer Poerstel to HARGROVE'S cell phone (804-712-1343) at approximately

10:30am. HARGROVE told the CS that he would be on his way soon. Law enforcement drove

the CS to the pre-arranged location.

       25.     At approximately 10:45am, the CS was in the 2600 block of Chamberlayne Ave

waiting for HARGROVE to arrive. At approximately 11:10am, Officer Mills observed

HARGROVE driving a white Chevy Impala (Enterprise rental vehicle bearing PA license plate

KMS-0651) arrive at the TARGET RESIDENCE and enter the firont door. At approximately
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11:33am, Officer Mills observed HARGROVE exit the TARGET RESIDENCE and depart the

area driving the Impala and wearing a black baseball hat, striped shirt, and black pants.

       26.     At approximately 11:40am, SA Corley observed HARGROVE arrive in the

parking lot at 2600 Chamberlayne Ave, Richmond, VA. HARGROVE exited his vehicle and

threw something into the outside trash can and returned to his vehicle. The CS entered the

vehicle with HARGROVE for only a few minutes. After the CS emerged from the vehicle

HARGROVE departed the area. Following the meet the CS relinquished the suspected heroin to

SA Corley. Based on your affiants training and experience, the suspected narcotics match the

shape, texture, packaging, color, and consistency of heroin. Surveillance continued on

HARGROVE until he arrived at the Gilpin Courtpublic housm^qmplex. Surveillance was

terminated at approximately 12:15pm. "Hrve CiXfeeacv^ stxipecHtA
                            c>r\
       27.     On December 7,2017, your affiant applied for and received a federal criminal

complaint and arrest warrant for one count of distribution of heroin, in violation 21 U.S.C. § 841,

from the Honorable Henry E. Hudson.

       28.     On December 8, 2017, at approximately 12:29 pm, TFO Philips observed

HARGROVE arrive at the TARGET RESIDENCE. HARGROVE was driving a Chevy SUV

bearing license plate WSR-4151. At approximately 12:43 pm, TFO Philips observed

HARGROVE exit the TARGET RESIDENCE wearing all black clothing. HARGROVE entered

the white SUV and departed the area.

       29.     At approximately 1:00 pm, Henrico Police Officer Madeline observed

HARGROVE enter the business called Lendmark Financial Services located at 5211 S

Laburnxmi Ave, Richmond, VA. At approximately 1:50 pm, HARGROVE exited the business,

at which time he was arrested by Henrico Police Officers Whiting, Jensen, and Gileva based on
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the outstanding federal arrest warrant.

        30.     SA Maine searched HARGROVE following his arrest and found two small plastic

baggies containing white powdery substance, which in your affiants training and experience

match the shape, texture, packaging, color, and consistency of heroin,

        31.     Your affiant has knowledge through training and experience that it is common for

drug traffickers to have their residences and vehicles registered in names other than their own in

an attempt to mask their identity and locations fi-om law enforcement.

        32.     Your affiant has knowledge through training and experience that drug traffickers

often use different addresses as stash locations to hide money, drugs, weapons, ledgers, and other

tools of the drug trade to fiirther their criminal enterprises.

        33.     Your affiant has knowledge through training and experience that it is common for

drug traffickers to have cell phone records located at their place of residence that will reveal

additional co-conspirators and facilitators of drug trafficking. It is also common for drug

traffickers to have vehicle maintenance records located at their residences that reveal repairs and

maintenance of vehicles.


                        RELIABILITY OF CONFIDENTIAL SOURCES


        34.     The OS has provided reliable information in the past that has been corroborated

by law enforcement. The CS agreed to cooperate with agents in return for later compensation.

The CS has met with law enforcement to place recorded phone calls and has provided

information that has initiated investigations on other drug traffickers.

                                           CONCLUSION


        Thus, based on the foregoing evidence, your affiant respectfiilly submits that there is a

probable cause to believe that Terrell HARGROVE has knowingly distributed heroin in violation
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of 21 U.S.C. § 841(a)(1). In addition, it is my belief that evidence of these violations is located

in the residence identified above.


       WHEREFORE, I respectfully request that a search warrant for these location(s) be

issued, authorizing any agent of the Drug Enforcement Administration, with proper assistance, to

enter and search the premises for the items described in Attachment "B," all of which are

evidence, and finits and instrumentalities of violations of Title 21, United States Code, sections

841(a)(1).



       I declare under penalty ofpequry that the statements above are true and correct to the

best of my knowledge and belief.




Tiffan^^^^OTley
Special Agent
Drug Enforcement Administration




Sworn to and subscribed before me this        00        da^ of December 2017 in Richmond,
                                                        day

Virginia.
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                                       ATTACHMENT A

        The TARGET RESIDENCE to be searched: 2308 Johnson Place, Richmond, VA 23223 to

include the entire dwelling and any detached sheds, garages or storage structures within the

curtilage. The structure is described as a single home dwelling with tan siding. This building is a

single-storied property with a grass yard surrounding it and a gravel driveway leading to the north

side of the residence. The number "2308" is clearly affixed to the outside front of the front pouch.

This dwelling is located in the Eastern District of Virginia.
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                                      ATTACHMENT B

1. Drug paraphernalia, including materials for cutting, weighing, and packaging controlled
   substances.


2. Books, records, receipts, notes, ledgers, and other documents relating to the transportation,
   ordering, purchasing, and distribution of controlled substances,

3. Personal books and papers reflecting names, addresses, telephone numbers and other contact or
   identification data relating to the distribution of controlled substances.

4. Cash, ciurency, and records relating to drug trafficking income, and expenditures of money and
   wealth, including money orders, wire transfers, cashier's checks and receipts, bank statements,
   passbooks, checkbooks, check registers, and precious metals and gems.

5. Documents indicating interstate and foreign travel, including itineraries, plane tickets, boarding
   passes, motel and hotel receipts, passports, visas, credit card receipts, and telephone bills.

7. Photographs of confederates, assets or controlled substances, or the spending of drug proceeds.

8. Indicia of occupancy and of ownership of real and personal property.

9. Cellular telephones, pagers, and electronic storage devices.

10. Firearms.
